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                                                PUBLISHED

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                                 No. 22-1819


        CITY OF HUNTINGTON, WEST VIRGINIA,

                              Plaintiff - Appellant,

                      v.

        AMERISOURCEBERGEN DRUG CORPORATION; CARDINAL HEALTH,
        INC.; MCKESSON CORPORATION,

                                 Defendants - Appellees.
        ------------------------------

        LEGAL SCHOLARS,

                              Amicus Curiae,

        THE NATIONAL ASSOCIATION OF COUNTIES; THE COUNTY
        EXECUTIVES OF AMERICA; THE NATIONAL LEAGUE OF CITIES; THE U.S.
        CONFERENCE OF MAYORS; THE INTERNATIONAL MUNICIPAL
        LAWYERS    ASSOCIATION;   THE   WEST   VIRGINIA    SHERIFFS’
        ASSOCIATION; AMERICAN PUBLIC HEALTH ASSOCIATION; NATIONAL
        ASSOCIATION OF COUNTY AND CITY HEALTH OFFICIALS,

                              Amici Supporting Appellant.


                                                 No. 22-1822


        CABELL COUNTY COMMISSION,

                              Plaintiff - Appellant,

                      v.
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        AMERISOURCEBERGEN DRUG CORPORATION; CARDINAL HEALTH,
        INC.; MCKESSON CORPORATION,

                              Defendants - Appellees,

                       and

        CVS HEALTH CORPORATION; WALGREENS BOOTS ALLIANCE, INC.; THE
        KROGER COMPANY; RITE AID CORPORATION,

                                 Defendants.
        ------------------------------

        LEGAL SCHOLARS,

                              Amicus Curiae,

        THE NATIONAL ASSOCIATION OF COUNTIES; THE COUNTY
        EXECUTIVES OF AMERICA; THE NATIONAL LEAGUE OF CITIES; THE U.S.
        CONFERENCE OF MAYORS; THE INTERNATIONAL MUNICIPAL
        LAWYERS    ASSOCIATION;   THE   WEST    VIRGINIA   SHERIFFS'
        ASSOCIATION; AMERICAN PUBLIC HEALTH ASSOCIATION; NATIONAL
        ASSOCIATION OF COUNTY AND CITY HEALTH OFFICIALS,

                              Amici Supporting Appellant.


        Appeals from the United States District Court for the Southern District of West Virginia,
        at Huntington. David A. Faber, Senior District Judge. (íFYí; 3:17ícví)


        Argued: -DQXDU\                                       Decided: 0DUFK


        Before KING and BENJAMIN, Circuit Judges, and KEENAN, Senior Circuit Judge.


        Question certified to the Supreme Court of Appeals of West Virginia by published order.
        Senior Judge Keenan directed entry of the order with the concurrence of Judge King and
        Judge Benjamin.



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        ARGUED: David Charles Frederick, KELLOGG, HANSEN, TODD, FIGEL &
        FREDERICK P.L.L.C., Washington, D.C., for Appellant. Paul William Schmidt,
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        CONNOLLY LLP, Washington, D.C; Robert A. Nicholas, REED SMITH, LLP,
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        Charleston, West Virginia, for Appellant Cabell County Commission. Ariela M. Migdal,
        Lillian V. Smith, Matthew N. Drecun, Kathleen W. Hickey, KELLOGG, HANSEN,
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        Pistilli, Stephen F. Petkis, Nicole M. Antoine, COVINGTON & BURLING LLP,
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        Ruthanne M. Deutsch, Hyland Hunt, DEUTSCH HUNT PLLC, Washington, D.C., for
        Amici Legal Scholars. Robert B. Nealon, NEALON & ASSOCIATES, P.C., Alexandria,
        Virginia; J. Carl Cecere, CECERE PC, Dallas, Texas, for Amici The National Association
        of Counties, The County Executives of America, The National League of Cities, The U.S.
        Conference of Mayors, The International Municipal Lawyers Association, and the West
        Virginia Sheriffs’ Association. Henry G. Garrard, III, BLASINGAME, BURCH,
        GARRARD & ASHLEY, P.C., Athens, Georgia; Deepak Gupta, Gregory A. Beck,
        GUPTA WESSLER PLLC, Washington, D.C., for Amici American Public Health
        Association and National Association of County and City Health Officials.




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                                                   ORDER


        BARBARA MILANO KEENAN, Senior Circuit Judge:

               The United States Court of Appeals for the Fourth Circuit, exercising the privilege

        afforded by the State of West Virginia through the Uniform Certification of Questions of

        /DZ$FW:HVW9LUJLQLD&RGH-1A-WKURXJK-1A-13, requests that the Supreme

        Court of Appeals of West Virginia exercise its discretion to answer the following question:

               Under West Virginia’s common law, can conditions caused by the
               distribution of a controlled substance constitute a public nuisance and, if so,
               what are the elements of such a public nuisance claim?

        A negative answer to this question is outcome determinative in the present appeal.

        Moreover, in our view, the fact that there is no controlling appellate decision, constitutional

        provision, or statute of West Virginia answering this question renders it appropriate for

        certification. See :9D&RGH–1A–3. We acknowledge that the Supreme Court of

        Appeals of West Virginia may restate this question. See id. -1A--1A- D  



                                                      I.

                                                      A.

               The Cabell County Commission and the City of Huntington, West Virginia (the

        SODLQWLIIV ILOHGVXLWLQDJDLQVWWKUHHGLVWULEXWRUVRIRSLRLGV$PHULVRXUFH%HUJHQ'UXJ

        Corporation, Cardinal Health, Inc., and McKesson Corporation (the distributors or the




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        defendants). 1 The plaintiffs alleged that these companies “created, perpetuated, and

        maintained” the opioid epidemic by repeatedly shipping to pharmacies orders of opioids in

        quantities that the distributors “knew or should have known exceed[ed] any legitimate

        market” for the drugs. The plaintiffs contended that the defendants’ conduct resulted in a

        public nuisance that was subject to abatement under West Virginia common law.

               $IWHUKROGLQJDEHQFKWULDOLQWKHGLVWULFWFRXUWLVVXHGDQRSLQLRQXQGHU)HGHUDO

        5XOH RI &LYLO 3URFHGXUH  UXOLQJ LQ IDYRU RI WKH GLVWULEXWRUV  City of Huntington v.

        AmerisourceBergen Drug Corp.  ) 6XSS G   6': 9D    $V D

        threshold matter, the district court held that West Virginia’s common law of public

        nuisance did not cover the plaintiffs’ claims. Id. DW7KHdistrict court, recognizing

        that the Supreme Court of Appeals of West Virginia (Supreme Court of Appeals) had not

        ruled on this issue, predicted that the state court would decline to extend West Virginia’s

        common law of public nuisance to the sale, distribution, and manufacture of opioids. Id.

        DW,QUHDFKLQJWKLVFRQFOXVLRQWKHGLVWULFWFRXUWFLWHGWKH5HVWDWHPHQW 7KLUG RI

        Torts and observed that the Supreme Court of Appeals had applied the common law of

        public nuisance only “in the context of conduct that interferes with public property or

        resources.” Id. DW7KHdistrict court also held that extension of the common law of


               1
                 The plaintiffs originally filed separate lawsuits that included other parties and
        claims. However, after the United States Judicial Panel on Multidistrict Litigation
        transferred both Huntington’s and Cabell County’s suits to the Northern District of Ohio
        (the MDL court), the MDL court designated the suits as “Track Two” bellwether cases and
        directed the parties to “streamline” their claims. The plaintiffs thereafter narrowed their
        claims to a public nuisance suit against the three distributor defendants in the present
        appeal. The MDL court later remanded the case to the Southern District of West Virginia,
        which consolidated the cases for trial.
                                                        
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        public nuisance to cover the plaintiffs’ claims would be “inconsistent with the history and

        traditional notions of nuisance.” Id. The district court did not find persuasive two West

        Virginia circuit court decisions in which those courts held that the common law of public

        nuisance may apply to the sale and distribution of opioids. 2 Id. The district court

        explained:

               To apply the law of public nuisance to the sale, marketing and distribution of
               products would invite litigation against any product with a known risk of
               harm, regardless of the benefits conferred on the public from proper use of
               the product. The economic harm and social costs associated with these new
               causes of action are difficult to measure but would obviously be extensive.

        Id. DW

               7KHGLVWULFWFRXUWDOVRUHMHFWHGWKHSODLQWLIIV¶SURSRVHGUHPHG\QDPHO\D-year

        “Abatement Plan” developed by Dr. G. Caleb Alexander, an expert in opioid abatement

        intervention. Id. DW  –   'U $OH[DQGHU WHVWLILHG DW WULDO WKDW WKH RSLRLG

        epidemic and the resulting harms from the epidemic were “reasonably certain to continue”

        DEVHQW LPSOHPHQWDWLRQ RI D  billion abatement plan, which would address

        “[p]revention, treatment, recovery, and special populations.”

               The district court held that this relief was “not properly understood” as falling within

        “the nature of abatement.” Id. DW7KHFRXUWIRXQGWKDWWKHSODQGLGQRWUHVWULFWWKH

        defendants’ conduct or their distribution of opioids but generally proposed programs and



               2
                 See id. DW (citing Brooke Cnty. Comm’n v. Purdue Pharma L.P., No. 17-C-
        :/ :9D&LU&W'HF writ denied1R- :
        9D-XQH DQGState ex rel. Morrisey v. AmerisourceBergen Drug Corp., No. 12-
        C-:/ :9D&LU&W'HF writ denied1R- :
        9D-DQ 
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        services to address “the attendant harms caused by opioid abuse and addiction.” Id. DW

        The court reasoned that the costs of the plan had “no direct relation to any of [the

        distributors’] alleged misconduct” and thus did not qualify as abatement. Id. DW 3

               After the district court entered final judgment for the distributors, the plaintiffs

        timely appealed.

                                                       B.

               Before setting forth the parties’ arguments, we summarize the statutory and

        regulatory framework under which the United States Drug Enforcement Administration

        (DEA) gives persons and entities the authority to distribute controlled substances, namely,

        the &RQWUROOHG 6XEVWDQFHV $FW &6$   86&  – DQG LWV LPSOHPHQWLQJ

        regulations.  We later briefly describe the specific facts giving rise to the plaintiffs’ public

        nuisance claim against the distributors.


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                The district court also held that the plaintiffs had not shown that the distributors’
        conduct was unreasonable or was a proximate cause of any nuisance. Id. DW  
        Notably, however, we need address the district court’s alleged errors on reasonableness
        and causation only if the Supreme Court of Appeals recognizes public nuisance as a
        cognizable claim in this case. We thus conclude that the district court’s holdings in that
        regard are not “relevant to the [certified] question[s],” and we do not describe them here.
        W. Va. Code § -1A- D  
               
                 In their separate challenges to the district court’s holdings on reasonableness and
        causation, the plaintiffs contend that the distributors violated their duties under the
        Controlled Substances Act and the West Virginia Controlled Substances Act by failing to
        identify or investigate suspicious orders of opioids, and by raising ordering thresholds to
        allow pharmacies to place large orders of opioids “without triggering review.” We do not
        expand on the plaintiffs’ separate arguments in this Order because the plaintiffs contend
        that a condition can constitute a public nuisance even if the conduct that causes the
        condition is lawful. Nevertheless, we set forth the relevant statutory framework in the
        event that the Supreme Court of Appeals determines that the legality of the defendants’
        (Continued)
                                                       7
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               When Congress passed the CSA, it acknowledged that many controlled substances

        “have a useful and legitimate medical purpose and are necessary to maintain the health and

        JHQHUDOZHOIDUHRIWKH$PHULFDQSHRSOH´86&  &RQJUHVVDOVRUHFRJQL]HG,

        however, the potential for abuse of such substances and the “need to prevent the diversion

        of drugs from legitimate to illicit channels.” Gonzales v. Raich86  see

        also 86&  7KXV&RQJUHVVFUHDWHGLQWKH&6$D³FORVHG regulatory system”

        in which only entities registered with the DEA may manufacture, distribute, or dispense

        controlled substances.  Raich86DWsee 21 U.S.C. §§ 822, 823.

               A controlled substance is placed in a schedule based on the drug’s potential for

        being abused. 21 U.S.C. § 812; John Doe, Inc. v. DEA)G '&&LU 

        As relevant here, Schedule II substances include oxycodone, hydrocodone, and other

        opioids that have both a currently accepted medical use and a “high potential for abuse”

        that may lead to “severe psychological or physical dependence.” 21 U.S.C. § 812(b)(2);

        &)5

               Within the supply chain for controlled substances, DEA-registered entities include

        manufacturers, distributors, and pharmacies, which dispense controlled substances based




        actions affects the availability of a public nuisance remedy. Cf. Duff v. Morgantown
        Energy Assocs.6(G :9D  H[SODLQLQJWKDWWKH6XSUHPH&RXUWRI
        Appeals has “consistently reaffirmed” that even a “business lawful in itself” may constitute
        a public nuisance if “a particular use of real property” is unreasonable in relation to the
        particular locality involved).
               
                The United States Attorney General delegated many of its authorities under the
        CSA to the DEA Administrator. See 86& D &)5 E 
                                                     8
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        on prescriptions written by registered doctors.  All registrants, including distributors, must

        “provide effective controls and procedures to guard against . . . diversion of controlled

        substances.” 21 C.F.R. §  D $UHJLVWUDQWPXVW³GHVLJQDQGRSHUDWHDV\VWHPWR

        disclose to the registrant suspicious orders of controlled substances,” and the registrant

        “shall inform” the DEA of suspicious orders it discovers. 7 &)5 E see

        Huntington  ) 6XSS G DW  ILQGLQJ WKDW HDFK GHIHQGDQW LQ WKH SUHVHQW FDVH

        maintained a suspicious order monitoring system).             The regulations categorize as

        “suspicious” “orders of unusual size, orders deviating substantially from a normal pattern,

        and orderVRIXQXVXDOIUHTXHQF\´&)5 E  8

               Despite the controls set forth in the CSA, the opioid epidemic has led to “an

        extraordinary public health crisis that started at least two decades ago and has accelerated

        over the past decade.” Huntington)6XSSGDW7KH SODLQWLIIVWKH&LW\RI



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                 When determining whether to register a distributor applicant, the DEA considers
        public interest factors such as the applicant’s maintenance of effective controls against
        diversion, compliance with applicable state and local laws, prior conviction record, past
        experience in the distribution of controlled substances, and other factors that may be
        relevant to public health and safety. 21 U.S.C. § 823(b).
               7
                Congress codified the suspicious order reporting requirement in the Substance
        Use-Disorder Prevention that Promotes Opioid Recovery and Treatment for Patients and
        &RPPXQLWLHV 6833257 $FW3XE/1R-–6WDW
        2FW codified at 21 U.S.C. § 832.
               8
                 Morris & Dickson Co., LLC)HG5HJ- '($0D\ 
        (outlining other “red flags”); Masters Pharm., Inc. v. DEA)G '&&LU
          KROGLQJWKDWDGLVWULEXWRUPXVWHLWKHUGHFOLQHWRVKLSRUFRQGXFWGXHGLOLJHQFHEHIRUH
        shipping a suspicious order (citing Southwood Pharm., Inc.)HG5HJ
         '($-XO\ 

                                                       
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        Huntington and Cabell County, West Virginia, have a combined population of about

        SHRSOHDQGKDYHEHHQ³DPRQJWKH:HVW9LUJLQLDFRPPXQLWLHVKDUGHVWKLWE\WKH

        opioid epidemic.” Id. DW –  1HLJKERUKRRGV WKURXJKRXW +XQWLQJWRQ DQG &DEHOO

        County have experienced increased crime rates and decreasing property values. Id. DW

        Hundreds of pregnant women in Huntington and Cabell County have been admitted for

        WUHDWPHQWRIRSLRLGXVHGLVRUGHUDQGDWWLPHVXSWRSHUFHQWRIEDELHVERUQDW&DEHOOand

        Huntington Hospital have suffered from neonatal abstinence syndrome.  Id. DW7KH

        number of children placed in foster care has doubled. Id. Infectious disease rates have

        sharply increased. Id. DW–3HRSOHZKRLQMHFWGUXJVUHSUHVHQWHGSHUFHQWRIQHZ

        +,9FDVHVLQDQGFDVHVRI+HSDWLWLV%DQG&LQ&DEHOO&RXQW\KDYHIDUH[FHHGHG

        national averages. Id.

               $V RI  PRUH WKDQ  SHUFHQW RI WKH SRSXODWLRQ RI +XQWLQJWRQ DQG &DEHOO

        County was or had been addicted to opioids. Id. DW%HWZHHQDQG

        individuals died from drug overdoses in Cabell County. Id. 2IWKRVHLQGLYLGXDOV

        died from opioid-related overdoses. Id. %HWZHHQDQGWKHIDWDOGUXJRYHUGRVH

        UDWHLQ&DEHOO&RXQW\LQFUHDVHGIURPWRLQGLYLGXDOVSHUSHRSOHId.

        $QG DW WKH WLPH RI WKH  EHQFK WULDO EHIRUH WKH GLVWULFW FRXUW SUHVFULSWLRQ Rpioids

        “remain[ed] . . . an ongoing and significant cause of drug overdose deaths in Cabell and

        Huntington.” Id. DW:LWKWKLVEDFNJURXQGLQPLQGZHWXUQWRWKHWKUHVKROGTXHVWLRQ


               
                 Neonatal abstinence syndrome (NAS) occurs in newborns “exposed in utero to
        GUXJVWDNHQE\WKHPRWKHU´'RUODQG¶V,OOXVWUDWHG0HGLFDO'LFWLRQDU\ GHG 
        Newborns with NAS show signs of substance withdrawal such as tremors, sweating,
        yawning, poor feeding, and sleep disturbance. Id.
                                                         
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        before us, namely, whether conditions caused by the distribution of a controlled substance

        can constitute a public nuisance under West Virginia common law. 



                                                        II.

               Under West Virginia common law, a public nuisance is “an act or condition that

        unlawfully operates to hurt or inconvenience an indefinite number of persons.” State ex

        rel. Smith v. Kermit Lumber & Pressure Treating Co.6(G :9D 

        (citation omitted); Duff v. Morgantown Energy Assocs.6(GQ :9D

          see also 5HVWDWHPHQW 6HFRQG RI7RUWV%   ³$SXEOLFQXLVDQFHLVDQ

        unreasonable interference with a right common to the general public.”). This includes

        “anything which interferes with the rights of a citizen, either in person, property, the

        enjoyment of his property, or his comfort.” Sharon Steel Corp. v. City of Fairmont

        6(G   : 9D    ³$V VXJJHVWHG E\ WKLV EURDG GHILQLWLRQ QXLVDQFH LV D

        flexible area of the law that is adaptable to a wide variety of factual situations.” Id.

               The parties dispute whether West Virginia’s common law of public nuisance covers

        the defendants’ distribution of opioids. Initially, the plaintiffs argue that the “nuisance” at

        issue is the “harm to public health and other resources” allegedly caused by the defendants’

        distribution of opioids. The plaintiffs contend that, like courts in many other states, West

        Virginia trial courts have “repeatedly allowed government entities to bring public nuisance



               
                 When exercising diversity jurisdiction, “a federal court must apply the law of the
        forum state as it is interpreted by the state’s highest court.” Moore v. Equitrans, L.P., 27
        )WK WK&LU  FLWDWLRQDQGTXRWDWLRQPDUNVRPLWWHG 
                                                        11
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        claims concerning opioids.” Moreover, the plaintiffs assert that the Supreme Court of

        Appeals has applied the common law of public nuisance to “commodities,” “the

        manufacture and distribution of products,” and “otherwise-lawful business activities . . .

        when conducted in a manner that harms the public.”

               The plaintiffs also emphasize that the Supreme Court of Appeals has not adopted

        the Restatement (Third) of Torts, which states that “the common law of public nuisance is

        an inapt vehicle for addressing” harms related to products. Restatement (Third) of Torts:

        /LDE IRU (FRQ +DUP      $GGLWLRQDOO\ WKH SODLQWLIIV FRQWHQG WKDW HYHQ LI WKH

        common law definition of public nuisance covers only conduct that interferes with public

        property or “resources,” the present case “involves clear interference with public

        resources” in the plaintiffs’ communities. Finally, the plaintiffs argue that out-of-state

        decisions such as State ex rel. Hunter v. Johnson & Johnson3G 2NOD ,

        do not affect the viability of a public nuisance claim under West Virginia common law.

               The distributors respond that the Supreme Court of Appeals has applied the common

        law of public nuisance only in the context of conduct that interferes with public property

        such as highways, public grounds, harbors and landings, or shared resources such as clean

        air and water. The distributors also reject the plaintiffs’ interpretation of Supreme Court

        of Appeals precedent, contending that the cases relied on by the plaintiffs did not involve

        the distribution of products but, rather, involved the use of property to pollute public

        resources with hazardous waste or the use of property in a way that created a “constant

        danger” to the public. The defendants also observe that the West Virginia trial court

        decisions permitting public nuisance claims to proceed beyond the motion to dismiss stage

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        are not precedential authority affecting the present case and suggest that the Oklahoma

        Supreme Court’s decision in Hunter should guide the interpretation of the common law of

        public nuisance in West Virginia. See Hunter, 3G

               Moreover, the defendants contest the plaintiffs’ characterization of the alleged

        injury, arguing that harm to an individual results in “at most, a violation of the private right

        not to be personally injured.” Application of the common law of public nuisance to harms

        caused by the distribution of opioids, they contend, would “mean that every seller of a

        product that arguably affects public health . . . could be liable for public nuisance.” The

        defendants urge adoption of the Restatement (Third) of Torts as applied to the plaintiffs’

        claims here, arguing that mass harms caused by dangerous products “are better addressed

        through the law of products liability.” 11



                                                      III.

               The Supreme Court of Appeals has not determined whether the common law of

        public nuisance may apply to conditions caused by distribution of a potentially dangerous


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                  Several legal scholars respond to these points in an amicus brief. Initially, amici
        contend that the “floodgate concerns” of the defendants and the district court are
        “unwarranted.” Because the common law of public nuisance “retains many of the
        traditional limits of tort liability,” liability for creating a public nuisance is constrained by
        the requirements that the alleged nuisance be “unreasonable” and interfere with a “public
        right.” Amici also reject the contention that public nuisance claims duplicate or serve an
        “an end run around” for products liability claims. Amici argue that while product liability
        claims focus on “harms specifically borne by discrete individuals,” “public nuisance claims
        serve a different function, focusing on ‘harms to the public,’ including public health, social
        welfare, and security.” Similarly, amici explain that public nuisance claims address
        conditions that “unreasonably interfere with the rights of people who are not themselves
        harmed by consumption of the product.”
                                                       13
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        product. Indeed, public nuisance cases in West Virginia traditionally have addressed

        hazards or inconveniences affecting property or resources. See Sharon Steel Corp.

        6(GDW FROOHFWLQJFDVHVIURPWR see also Kermit6(GDW

        (public nuisance claim against lumber company that failed to eliminate hazardous waste

        resulting from its lumber treatment process). Nonetheless, we do not view as dispositive

        the fact that the Supreme Court of Appeals has not yet applied principles of public nuisance

        to the distribution of a product. And we hesitate to infer such limits on West Virginia’s

        common law of public nuisance in light of the broad language used by the Supreme Court

        of Appeals in describing public nuisance claims, see Sharon Steel, 6(GDWDQG

        in light of decisions by West Virginia trial courts holding that common law claims of public

        nuisance are cognizable against distributors of opioids.

               For example, in State ex rel. Morrisey v. AmerisourceBergen Drug Corp., a West

        Virginia circuit court held that West Virginia had “sufficiently assert[ed]” a claim for

        public nuisance by “sufficiently alleg[ing that] the safety and health and morals of the

        people of West Virginia ha[d] been compromised due to Defendants’ alleged wrongful

        influx of addictive, controlled substances into West Virginia, thereby causing substantial

        injury to West Virginia citizens and taxpayers.” No. 12-C-:/DW

          : 9D &LU &W 'HF    writ denied 1R - : 9D -DQ   

        Similarly, in Brooke County Commission v. Purdue Pharma L.P., a circuit court held that

        the common law of public nuisance is “not limited to property disputes,” and that the

        distributor defendants had “interfered with a public right, including the public health.” No.



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        17-C-:/DW  :9D&LU&W'HF writ denied1R-

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               The West Virginia Mass Litigation Panel (MLP) 13 also has concluded in multiple

        instances that the distribution of opioids can form the basis of a public nuisance claim under

        West Virginia common law. When considering a motion to dismiss filed by the same

        distributors in this case, the MLP denied the distributors’ motion and “adopt[ed] and

        incorporate[d] by reference” the findings of fact and conclusions of law from Brooke

        County.     Order Denying the Distributor Defendants’ Motion to Dismiss Plaintiffs’

        Complaint, &LYLO$FWLRQ1R-C-DW :9D0/32FW available at

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        DefendantsMTD.pdf [https://perma.cc/2CHF-8CEK]. Moreover, after the district court

        issued its decision in the present case, the MLP stated that the district court’s “placement

        of an artificial external constraint on the common law cause of action for public nuisance

        is inconsistent with the Supreme Court of Appeals’ longstanding recognition that a public

        nuisance is any act or condition that ‘operates to hurt or inconvenience an indefinite


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                In both Brooke County and Morrisey, the Supreme Court of Appeals refused the
        defendants’ petitions for a writ of prohibition following the trial courts’ denials of their
        motions to dismiss. See : 9D &RGH  -1-1; Brooke Cnty.  :/ 
        Morrisey:/
               13
                  The MLP consists of seven active or senior status circuit court judges appointed
        by the Chief Justice, with the approval of the Supreme Court of Appeals. Mass Litigation
        Panel, Overview, available at https://www.courtswv.gov/lower-courts/mass-litigation-
        SDQHO >KWWSVSHUPDFF3%7-.46@  $V RI  West Virginia cities, counties,
        hospitals, and the State had brought more than eighty lawsuits against manufacturers and
        distributors of opioids. See State ex rel. AmerisourceBergen Drug Corp. v. Moats
        6(G :9D 
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        number of persons,’ and that ‘nuisance is a flexible area of the law that is adaptable to a

        wide variety of factual situations.’”  Findings of Fact and Conclusions of Law on Order

        Denying Pharmacy Defendants’ Motions to Dismiss Complaints and Amended Motions,

        Civil Action No. 21-C--PHARM DW  : 9D 0/3 $XJ    FLWDWLRQV

        omitted), available at KWWSVZZZFRXUWVZYJRYVLWHVGHIDXOWSXEILOHVPQW--3-

        22FOF-&2/DQG2UGHU'HQ\LQJ3KDUPDF\07'VSGI >KWWSVSHUPDFF<1-:@ see

        also Findings of Fact and Conclusions of Law and Order Denying Defendants’ Motion for

        Summary Judgment Re: “Factual Issue #2”, Civil Action No. 21-C-'LVWULEXWRU, at

        1- : 9D 0/3 -XO\    KROGLQJ WKDW ³:HVW 9LUJLQLD SXEOLF QXLVDQFH ODZ

        encompasses plaintiffs’ opioid claims” against the distributor defendants), available at

        KWWSVZZZFRXUWVZYJRYVLWHVGHIDXOWSXEILOHVPQW--1-22OrderDenyingFact

        ualIssue2.pdf [https://perma.cc/PJ3Y-65@ Amended Order Regarding Rulings Issued

        During March 25, 2022, Pretrial Conference, Civil Action No. 21-C-0)5 DW :

        9D 0/3 0D\    GHFOLQLQJ WR IROORZ WKH 2NODKRPD 6XSUHPH &RXUW¶V UXOLQJ LQ

        Hunter  KWWSVZZZFRXUWVZYJRYVLWHVGHIDXOWSXEILOHVPQW--23-22Amended

        PretrialRulingsOrder21-C-0)5SGI>KWWSVSHUPDFF1.-LXPV].

               Finally, we do not think that the authorities cited by the defendants, namely, the

        Oklahoma Supreme Court’s decision in Hunter3GDQGWKH5HVWDWHPHQW 7KLUG 



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                 Cf. also Lemongello v. Will Co.1R&,9$-C-:/DW
          :9D&LU&W-XQH  ³7KLV&RXUWILQGVWKDW:HVW9LUJLQLDODZGRHVQRWOLPLW
        claims of public nuisance to those dealing with real property. Further, although the
        Defendants argued the necessity of an unlawful act to sustain nuisance, this Court finds the
        same is not necessary to create a public nuisance.”).
                                                     
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        of Torts, control the outcome of this case. With regard to Hunter3GGHFLVLRQV

        from other courts of last resort are “entitled to great respect” but are “not of controlling

        force or effect or binding in authority” upon the Supreme Court of Appeals. State v. Blatt,

        6(G :9D  TXRWLQJBurless v. W. Va. Hosps., Inc.6(G

        Q :9D 

               With regard to the Restatement (Third) of Torts, we observe that the Supreme Court

        of Appeals has not issued a decision directly addressing the Third Restatement’s position

        on this issue. Cf. Duff,  6(G DW  UHO\LQJ RQ 5HVWDWHPHQW 6HFRQG  RI 7RUWV 

        Under “Liability for Economic Harm,” section 8 of the Third Restatement addresses the

        potential liability of a defendant who creates a public nuisance “that results in economic

        loss to the plaintiff,” and provides that suits seeking to recover for public nuisance against

        the makers of products “ha[ve] been rejected by most courts . . . because the common law

        of public nuisance is an inapt vehicle for addressing the conduct at issue.” Restatement

        (Third) of Torts: Liab. for Econ. Harm § 8 cmt. g. But the plaintiffs here have abandoned

        their claim for “past damages for economic losses” against the defendants, and section 8

        of the Third Restatement instructs readers to refer to the Restatement (Second) of Torts for

        a general discussion of public nuisance that extends beyond “liability for economic loss.”

        Id. § 8. Moreover, the text of section 8 expressly outlines the limits of its application by

        acknowledging that it applies to private suits, rather than to public nuisance claims brought

        by public officials. Id.

               We thus recognize the potentially limited application of the Third Restatement to

        the present case. And, having reviewed principles of the common law of public nuisance

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        as reflected in decisions by the Supreme Court of Appeals, as well as in trial court decisions

        in West Virginia addressing public nuisance claims against distributors of controlled

        substances, we conclude that no controlling appellate decision answers the question

        whether conditions caused by the distribution of a controlled substance can constitute a

        public nuisance under West Virginia common law and, if so, what the elements are of such

        a claim.  Cf. also State v. Myers6(GQ :9D  H[SODLQLQJ

        that unless there is a “dearth” of published opinions on an issue, the Supreme Court of

        Appeals ordinarily does not cite unpublished decisions).



                                                     IV.

               Under the privilege made available by the West Virginia Uniform Certification of

        Questions of Law Act, it is hereby ORDERED: (1) That the question stated above be, and

        the same hereby is, certified to the Supreme Court of Appeals of West Virginia; (2) that

        the Clerk of this Court forward to the Supreme Court of Appeals of West Virginia, under

        the official seal of this Court, a copy of this order and, to the extent requested by the

        Supreme Court of Appeals of West Virginia, the original or a copy of the record in this

        Court; and (3) that any request for all or part of the record be fulfilled by the Clerk of this

        Court simply upon notification from the Clerk of the Supreme Court of Appeals.

               The names and addresses of counsel of record for the parties are:

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                 The Supreme Court of Appeals has outlined a “reasonableness” test for public
        nuisance claims, but the test refers specifically to the use of real property. Duff6(G
        DW  FLWDWLRQ RPLWWHG   6LPLODUO\ WKH 5HVWDWHPHQW 6HFRQG  RI 7RUWV GHVFULEHV
        reasonableness and causation in the context of, and by using examples relating to, the use
        and enjoyment of land. See, e.g.5HVWDWHPHQW 6HFRQG RI7RUWV(
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              This Order is entered by Senior Circuit Judge Keenan, with the concurrence of

        Judge King and Judge Benjamin.


                                                                        QUESTION CERTIFIED



                                                         FOR THE COURT:



                                                         ______________________
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                                                         United States Circuit Judge
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